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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF OHIO
                             EASTERN DIVISION

UNITED STATES OF AMERICA
      vs.                                  Criminal Action 2:22-cr-109
                                           JUDGE MICHAEL H. WATSON
TOMAS HAILEMARIAM
                           REPORT AND RECOMMENDATION

      Defendant Tomas Hailemariam previously pleaded not guilty to an
Indictment charging him with possession with intent to distribute a
mixture or substance containing a detectable amount of cocaine,
oxycodone, and marijuana in violation of 21 U.S.C. § 841 (Count 1),
possession of firearms in furtherance of the drug trafficking crime
charged in Count 1 in violation of 18 U.S.C. § 924(c)(1)(A)(i) (Count
2), and being a felon in possession of firearms in violation of 18
U.S.C. §§ 922(g)(1), 924(a)(2) (Count 3). Indictment, ECF No. 18. The
Indictment also contains forfeiture counts. Id. The United States and
defendant thereafter entered into a Plea Agreement, ECF No. 43,
executed pursuant to the provisions of Rule 11(c)(1)(A) of the Federal
Rules of Criminal Procedure, whereby defendant agreed to enter a plea
of guilty to Counts 1 and 2. 1     On November 8, 2023, defendant
personally appeared with his counsel for a change of plea proceeding.
      Defendant consented, pursuant to 28 U.S.C. §636(b)(3), to enter a
guilty plea before a Magistrate Judge.       See United States v. Cukaj, 25
Fed.Appx. 290, 291(6  th
                           Cir. 2001)(Magistrate Judge may accept a guilty
plea with the express consent of the defendant and where no objection
to the report and recommendation is filed).




      1 In the Plea Agreement, defendant agreed to forfeit his interest in the
specified firearms and other specified items. The Plea Agreement also
includes an appellate waiver provision that preserves only certain claims for
appeal, collateral challenge, and motion for reduction of sentence. Defendant
is a naturalized citizen of the United States, and the parties agree that his
guilty plea will have no immigration consequences.


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        During the plea proceeding, the undersigned observed the
appearance and responsiveness of defendant in answering questions.
Based on that observation, the undersigned is satisfied that, at the
time he entered his guilty plea, defendant was in full possession of
his faculties, was not suffering from any apparent physical or mental
illness and was not under the influence of narcotics, other drugs, or
alcohol.
        Prior to accepting defendant’s plea, the undersigned addressed
defendant personally and in open court and determined his competence
to plead.     Based on the observations of the undersigned, defendant
understands the nature and meaning of the charges against him in the
Indictment and the consequences of his plea of guilty to Counts 1 and
2.    Defendant was also addressed personally and in open court and
advised of each of the rights referred to in Rule 11 of the Federal
Rules of Criminal Procedure.
        Having engaged in the colloquy required by Rule 11, the Court
concludes that defendant’s plea is voluntary.           Defendant acknowledged
that the Plea Agreement signed by him, his attorney and the attorney
for the United States and filed on November 8, 2023, represents the
only promises made by anyone regarding the charges against him in the
Indictment.      Defendant was advised that the District Judge may accept
or reject the Plea Agreement and that all sentencing terms will be
determined by the District Judge. Defendant was further advised that,
even if the District Judge refuses to accept any provision of the Plea
Agreement not binding on the Court, or if the sentence imposed is more
severe than the sentence that defendant expected, defendant may
nevertheless not withdraw his guilty plea on that basis.
        Defendant confirmed the accuracy of the statement of facts
supporting the charges, which is attached to the Plea Agreement.              He
confirmed that he is pleading guilty to Counts 1 and 2 of the
Indictment because he is in fact guilty of those crimes.            The Court
concludes that there is a factual basis for the plea.


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     The Court concludes that defendant’s plea of guilty to Counts 1
and 2 of the Indictment is knowingly and voluntarily made with
understanding of the nature and meaning of the charges and of the
consequences of the plea.
     It is therefore RECOMMENDED that defendant’s guilty plea to
Counts 1 and 2 of the Indictment be accepted.        Decision on acceptance
or rejection of the Plea Agreement was deferred for consideration by
the District Judge after the preparation of a presentence
investigation report.
     In accordance with S.D. Ohio Crim. R. 32.1, and as expressly
agreed to by defendant through counsel, a written presentence
investigation report will be prepared by the United States Probation
Office.    Defendant will be asked to provide information; defendant’s
attorney may be present if defendant so wishes.        Objections to the
presentence report must be made in accordance with the rules of this
Court.
     If any party seeks review by the District Judge of this Report
and Recommendation, that party may, within fourteen (14) days, file
and serve on all parties objections to the Report and Recommendation,
specifically designating this Report and Recommendation, and the part
thereof in question, as well as the basis for objection thereto.           28
U.S.C. §636(b)(1); F.R. Civ. P. 72(b).       Response to objections must be
filed within fourteen (14) days after being served with a copy
thereof.    F.R. Civ. P. 72(b).
     The parties are specifically advised that failure to object to
the Report and Recommendation will result in a waiver of the right to
de novo review by the District Judge and of the right to appeal the
decision of the District Court adopting the Report and Recommendation.
See United States v. Wandahsega, 924 F.3d 868, 878 (6th Cir. 2019);
Thomas v. Arn, 474 U.S. 140 (1985).


November 8, 2023                                s/ Norah McCann King
 Date                                            Norah McCann King
                                           United States Magistrate Judge
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